Case No. 1:12-cr-00010-MSK Document 941 filed 08/14/13 USDC Colorado pg 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                 Chief Judge Marcia S. Krieger

 Criminal Action No. 12-cr-00010-MSK-03

 UNITED STATES OF AMERICA,

        Plaintiff,
 v.

 GREGORY A. COLLINS,

        Defendant.



                                  ORDER EXONERATING BOND


        This criminal action has proceeded to sentencing and a final judgment and conviction,

 and the defendant was remanded to the custody of the United States Marshal at sentencing, or

 has self-surrendered to the designated facility, as confirmed by the United States Bureau of

 Prisons. As a result, all the conditions of an appearance bond imposed by the court as a pretrial

 matter to secure the defendant’s release, pursuant to 18 U.S.C. § 3142(c), have been satisfied.

 Accordingly, it is

        ORDERED that the bond in this case is hereby exonerated and the surety or sureties, if

 applicable, are released. It is further

        ORDERED that the bail funds or property deposited into the registry of the court shall

 hereby be released by the clerk of the court, or a designated deputy, to the surety or the

 defendant.

        Dated this 14th day of August, 2013.


                                                       BY THE COURT:
Case No. 1:12-cr-00010-MSK Document 941 filed 08/14/13 USDC Colorado pg 2 of 2




                                         Marcia S. Krieger
                                         Chief United States District Judge
